IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
v. Case No, 22-00235-04-CR-W-BP
ERIC 8, POSTON,
Defendant.
PLEA AGREEMENT

Pursuant to Rule il(c)(1)(B) of the Federa! Rules of Criminal Procedure, the parties
described below have entered into the following plea agreement:

1. | The Parties. The parties to this agreement are the United States Attorney’s Office
for the Western District of Missouri (otherwise referred to as “the Government” or “the
United States”), represented by Teresa A. Moore, United States Attorney, and Sean T. Foley,
Assistant United States Attorney, and the defendant, Eric S, Poston (“the defendant”), represented
by Robert G. Kuchar.

The defendant understands and agrees that this plea agreement is only between his and the
United States Attorney for the Western District of Missouri, and that it does not bind any other
federal, state, or local prosecution authority or any other government agency, unless otherwise
specified in this agreement.

2. Defendant’s Guilty Plea. The defendant agrees to plead guilty to the lesser

included offense of Count One of the Indictment charging him with a violation of 21 U.S.C.
8§ 841(a)(1) and (b)(1)(B), and 846, that is, conspiracy to distribute 50 grams or more of

methamphetamine. The defendant further agrees to and hereby does plead guilty to Count Eight

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of the Indictment charging him with a violation of 18 U.S.C. § 924(c)(1)(A)()), that is, Possession
of a Firearm in Furtherance of a Drug Trafficking Crime. By entering into this plea agreement,
the defendant admits that he knowingly committed these offenses, and is in fact guilty of them,

3. Factual Basis for Guilty Plea. The parties agree that the facts constituting the

offense to which he is pleading guilty are as follows:

The Defendant ERIC 8. POSTON knowingly and intentionally considered and agreed
with others, both known and unknown, to distribute 500 grams or more of a mixture or substance
containing a detectable amount of methamphetamine, a Schedule II controlled substance, contrary
to the provisions of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A), and 846. The
conspiracy began at an unknown date but no later than August 1, 2019, and continued to at least
March 26, 2021, and POSTON agrees he participated in this conspiracy within Jackson County,
Missouri, which is within the Western District of Missouri and elsewhere. POSTON agrees that
this conspiracy for which he participated in was an agreement distribute 500 grams or more of
methamphetamine.

In the Fall of 2020 and into the Spring of 2021, law enforcement officials in the
Independence, Missouri area obtained information about individuals dealing large amounts of
methamphetamine from a residence in Independence, Missouri, which is within the Western
District of Missouri (“the Residence”). Law enforcement officials identified WILLIAM LEE
BAILEY, POSTON, and SAVANNAH SMITH as coming and going from the Residence or
having vehicles associated with them at it,

On March 16, 2021, officials identified a maroon Chevrolet truck bearing Missouri
(“Maroon Truck”), arrive at the residence. A male later identified as BRANDON BEADEL got
out and went into the Residence through its backdoor. About a half hour later, BEADEL left the
residence speaking with POSTON, and then got in the Maroon Truck and drove away. Officers
conducted a car stop on the Maroon Truck for traffic violations and BEADEL was driving and
appeared under the influence of drugs or alcohol. The Maroon Truck was searched and
investigators found a Ruger 9mm magazine loaded with seven rounds as well as a black bag, which
contained two bags of methamphetamine one weighing 30 grams and the other 8 grams.

Following the car stop and the drugs being recovered from BEADEL, investigators on
March 18, 2021, applied for and obtained search warrant for the Residence. The Residence was
searched on March 25, 2021. BAILEY, SMITH, and ALYSSA ENLOW, along with two children,
were inside the Residence.

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As the officers moved through, they observed a large TY Monitor in the basement linked
to a Ring Video Camera Surveillance system which was recording surveillance video from
cameras filming both the outside of the Residence, as well as activity from inside the Residence’s
basement. The search of the Residence uncovered, among other items, the following:

- technicolor DVR system from the main floor living room;
- A Savage Arms 320, pistol grip 12-guage shotgun (“Savage”) and sheils from storage shed
with defaced serial number;
- a Ruger SR9OC, 9mm pistol bearing serial number 336-25356 (“Ruger”) from the kitchen,
loaded with a magazine with 10 rounds,
~ Methamphetamine and Drug Distribution Evidence in Basement:
o Gray Zippered “Glock” Case (“Glock Case”) with a Ziplock bag with 796.70 grams
of methamphetamine,
co Digital scale and empty baggies from bag on basement bed;
© Black Bag in basement dryer with two Ziplock bags containing respectively 87.10
grams and 210.82 grams of methamphetamine;
four |2-guage shells, a 9mm cartridge and two magazine son bed in basement;
Black nylon holster in basement north room;
Seven 12-guage shells from south wall of basement bedroom;
Two LG phones and six 9mm cartridges and magazine from bedroom headboard;
thirteen .45 caliber and one 9mm cartridges from top drawer basement bed;
Notepad from downstairs basement bedroom;
Pink file folder with papers belonging to ENLOW from north basement room
clothes hamper

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On April 8, 2021, investigators obtained a search warrant for the Ring Video System (“the
Ring System”) installed at the Residence. The Ring System account belonged to “Lee Bailey.”
The Ring System had been set up to film and record activity inside the Residence’s basement,
which also happened to be the location from where the parties distributed drugs. The Ring System
search warrant returned video roughly from February 18, 2021, through the search warrant’s
execution on March 25, 2021,

The Ring System provided evidence that POSTON and others both known and unknown
were engaged in a conspiracy to distribute methamphetamine. The video showed numerous drug
transactions, individuals possessing firearms, individuals counting U.S. Currency as proceeds from
the conspiracy, and individuals possessing large, gallon Ziplock bags containing
methamphetamine.

POSTON agrees that the Ring System captured numerous times in which POSTON was
holding large Ziplock bags containing methamphetamine, counting money which were proceeds
of illegal drug trafficking, and possessing firearms while possessing distribution amounts of
methamphetamine and proceeds derived from illegal drug distribution. All of these actions
POSTON admits were done to further the conspiracy,

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On or about March 14 and March 15, 2021, POSTON arrived in the Residence’s basement,
He removed a desert tan colored Glock 19X, 9mm handgun bearing serial number BGWR896
from his jacket and set it on the bed. POSTON then removed two large stacks of U.S. currency
both of which were proceeds from illegal drug sales from each pocket of his pants and set the U.S.
currency down on the bed next to the Glock 19X. POSTON later on March 15, 2021, was in the
basement holding the Black Zippered Bag and had yet more U.S. currency derived from illegal
drug proceeds. POSTON then counts U.S. currency with SMITH in the basement with BAILEY
nearby,

On April 2, 2021, POSTON waived his Miranda rights and agreed to speak with
investigators. POSTON adinitted to being a member of the conspiracy from near its inception.
POSTEN said the conspirators source of supply provided the conspirators with 15-20 kilograms
of methamphetamine at a time, and did so by concealing the methamphetamine in speaker boxes.
POSTON admitted to possessing, storing, and distributing methamphetamine in furtherance of the
conspiracy, He also was shown a screenshot from the Ring Video System of him holding a firearm
and admitted that firearm was the Glock 19X and even provided directions to investigators on how
to recover it.

For purposes of this agreement, the parties agree the POSTON that on or about March 14
and March 15, 2021, possessed the Glock 19X in furtherance of the conspiracy distribute
methamphetamine detailed above. POSTON also admits he knowingly agreed with others to
distribute 500 grams or more of a mixture or substance containing methamphetamine within the
Western District of Missouri and elsewhere and did so between during August 1, 2019, and March
26, 2021.

4, Use of Factual Admissions and Relevant Conduct, The defendant acknowledges,

understands and agrees that the admissions contained in Paragraph 3 and other portions of this plea
agreement will be used for the purpose of determining his guilt and advisory sentencing range
under the United States Sentencing Guidelines (“U.S.S.G.”), including the calculation of the
defendant’s offense level in accordance with U.S.S.G. § 1B1.3({a)(2). The defendant
acknowledges, understands and agrees that the conduct charged in any dismissed counts of the
Indictment as well as all other uncharged related criminal activity may be considered as “relevant
conduct” pursuant to U.S.S.G, § 1B1.3(a)(2) in calculating the offense level for the charge to
which he is pleading guilty.

5. Statutory Penalties. The defendant understands that upon his plea of guilty to the

lesser included offense of Count One of the Indictment charging him with a violation of 21 U.S.C,

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8§ 841 (a)(1) and (b)(1)(B), and 846, that is, conspiracy to distribute 50 grams or more of
methamphetamine, the minimum penalty the Court may impose is not less than five (5) years
imprisonment, the maximum penalty the Court may impose is not more than forty (40) years
imprisonment, a $5,000,000.00 fine, and the Court shall impose not less than four (4) years of
supervised release. The defendant further understands that this offense is a Class A felony.

The defendant further understands that upon his plea of guilty to Count Eight of the
Indictment charging him with Possession of a Firearm in Furtherance of a Drug Trafficking Crime,
in violation of 18 U.S.C, § 924(c)(1)(A)C), the minimum sentence the Court may impose is five
(5) years imprisonment. The maximum penalty the Court may impose is not more than life
imprisonment, a $250,000 fine, and five (5) years of supervised release. Any sentence of
imprisonment on Count Five must run consecutive to any other sentence of imprisonment. The
defendant further understands that this is a Class A felony.

Furthermore, each count listed above requires a $100 mandatory special assessment.

6. Sentencing Procedures. The defendant acknowledges, understands and agrees to

the following:

a. in determining the appropriate sentence, the Court will consult and
consider the United States Sentencing Guidelines promulgated by the United States
Sentencing Commission; these Guidelines, however, are advisory in nature, and the
Court may impose a sentence either less than or greater than the defendant’s
applicable Guidelines range, unless the sentence imposed is “unreasonable”;

b. the Court will determine the defendant’s applicable Sentencing
Guidelines range at the time of sentencing;

c. in addition to a sentence of imprisonment, the Court must impose a term
of supervised release of not less than four (4) years;

d. the Court may impose any sentence authorized by law, including a
sentence that is outside of, or departs from, the applicable Sentencing Guidelines
range;

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e. any sentence of imprisonment imposed by the Court will not allow for
parole;

f. the Court is not bound by any recommendation regarding the sentence to
be imposed or by any calculation or estimation of the Sentencing Guidelines range
offered by the parties or the United States Probation Office; and

g. the defendant may not withdraw his guilty plea solely because of the
nature or length of the sentence imposed by the Court.

7, Government’s Agreements. Based upon evidence in its possession at this time,

the United States Attorney’s Office for the Western District of Missouri, as part of this plea
agreement, agrees not to bring any additional charges against defendant for any federal criminal
offenses related to the crimes described above for which it has venue and which arose out of the
defendant’s conduct described above. Additionally, the United States Attorney for the Western
District of Missouri agrees to dismiss Counts Four and Five of the Indictment at sentencing.

The defendant understands that this plea agreement does not foreclose any prosecution for
an act of murder or attempted murder, an act or attempted act of physical or sexual violence against
the person of another, or a conspiracy to commit any such acts of violence or any criminal activity
of which the United States Attorney for the Western District of Missouri has no knowledge.

The defendant recognizes that the United States’ agreement to forego prosecution of all of
the criminal offenses with which the defendant might be charged is based solely on the promises
made by the defendant in this agreement. If the defendant breaches this plea agreement, the United
States retains the right to proceed with the original charges and any other criminal violations
established by the evidence. The defendant expressly waives his right to challenge the initiation of
the dismissed or additional charges against his if he breaches this agreement. The defendant
expressly waives his right to assert a statute of limitations defense if the dismissed or additional

charges are initiated against his following a breach of this agreement. The defendant further

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understands and agrees that if the Government elects to file additional charges against his following
his breach of this plea agreement, he will not be allowed to withdraw his guilty plea.

3. Preparation of Presentence Report, The defendant understands the United States

will provide to the Court and the United States Probation Office a government version of the offense
conduct. This may include information concerning the background, character, and conduct of the
defendant, including the entirety of his criminal activities. The defendant understands these
disclosures are not limited to the counts to which he has pleaded guilty. The United States may
respond to comments made or positions taken by the defendant or the defendant’s counsel and to
correct any misstatements or inaccuracies, The United States further reserves its right to make any
recommendations it deems appropriate regarding the disposition of this case, subject only to any
limitations set forth in this plea agreement. The United States and the defendant expressly reserve
the right to speak to the Court at the time of sentencing pursuant to Rule 32(i)(4) of the Federal
Rules of Criminal Procedure.

9, Withdrawal of Plea. Either party reserves the right to withdraw from this plea

agreement for any or no reason at any time prior to the entry of the defendant’s plea of guilty and
its formal acceptance by the Court. In the event of such withdrawal, the parties will be restored to
their pre-plea agreement positions to the fullest extent possible. However, after the plea has been
formally accepted by the Court, the defendant may withdraw his plea of guilty only if the Court
rejects the plea agreement or if the defendant can show a fair and just reason for requesting the
withdrawal. The defendant understands that if the Court accepts his plea of guilty and this plea
agreement but subsequently imposes a sentence that is outside the defendant’s applicable
Sentencing Guidelines range, or imposes a sentence that the defendant does not expect, like or

agree with, he will not be permitted to withdraw his plea of guilty.

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10. Agreed Guidelines Applications. With respect to the application of the
Sentencing Guidelines to this case, the parties stipulate and agree as follows:

a. The Sentencing Guidelines do not bind the Court and are advisory in nature.
The Court may impose a sentence that is either above or below the defendant’s
applicable Guidelines range, provided the sentence imposed is not “unreasonable”;

b. The parties agree that the applicable Guidelines section for Count One is
contained in the Drug Quantity Table in U.S.S.G. §2DI1.1(c), but have no
agreement about the applicable base offense level,

c. The parties have no agreements about which enhancements may apply for
Count One;

d. The parties agree the applicable Guidelines section for Count Eight is
U.S.S.G. §2K2.4(b), which provides for a guideline range of 60 months
consecutive;

e. The defendant has admitted his guilt and clearly accepted responsibility for
his actions, and has assisted authorities in the investigation or prosecution of his
own misconduct by timely notifying authorities of his intention to enter a plea of
guilty, thereby permitting the Government to avoid preparing for trial and
permitting the Government and the Court to allocate their resources efficiently.
Therefore, he is entitled to a three-level reduction pursuant to § 3E1.1(b) of the
Sentencing Guidelines. The Government, at the time of sentencing, will file a
written motion with the Court to that effect, unless the defendant (1) fails to abide
by all of the terms and conditions of this plea agreement and his pretrial release; or
(2) attempts to withdraw his guilty plea, violates the law, or otherwise engages in
conduct inconsistent with his acceptance of responsibility;

f. There is no agreement between the parties regarding the defendant’s
criminal history category. The parties agree that the Court will determine his
applicable criminal history category after receipt of the presentence investigation
report prepared by the United States Probation Office;

g. The defendant understands that the estimate of the parties with respect to
the Guidelines computation set forth in the subsections of this paragraph does not
bind the Court or the United States Probation Office with respect to the appropriate
Guidelines levels, Additionally, the failure of the Court to accept these stipulations
will not, as outlined in Paragraph 9 of this plea agreement, provide the defendant
with a basis to withdraw his plea of guilty;

h. The defendant consents to judicial fact-finding by a preponderance of the
evidence for all issues pertaining to the determination of the defendant’s sentence,
including the determination of any mandatory minimum sentence (including the

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facts that support any specific offense characteristic or other enhancement or
adjustment), and any legally authorized increase above the normal statutory
maximum. The defendant waives any right to a jury determination beyond a
reasonable doubt of all facts used to determine and enhance the sentence imposed,
and waives any right to have those facts alleged in the Indictment or Information.
The defendant also agrees that the Court, in finding the facts relevant to the
imposition of sentence, may consider any reliable information, including hearsay;
and;

i. The defendant understands and agrees that the factual admissions contained
in Paragraph 3 of this plea agreement, and any admissions that he will make during
his plea colloquy, support the imposition of the agreed-upon Guidelines
calculations contained in this agreement,

il. Effect of Non-Agreement on Guidelines Applications. The parties understand,

acknowledge and agree that there are no agreements between the parties with respect to any
Sentencing Guidelines issues other than those specifically listed in paragraph 13, and its
subsections. As to any other Guidelines issues, the parties are free to advocate their respective
positions at the sentencing hearing,

12, Change in Guidelines Prior to Sentencing. The defendant agrees that if any

applicable provision of the Guidelines changes after the execution of this plea agreement, then any
request by defendant to be sentenced pursuant to the new Guidelines will make this plea agreement
voidable by the United States at its option, If the Government exercises its option to void the plea
agreement, the United States may charge, reinstate, or otherwise pursue any and all criminal
charges that could have been brought but for this plea agreement.

13. Government’s Reservation of Rights. The defendant understands that the United

States expressly reserves the right in this case to:
a. oppose or take issue with any position advanced by defendant at the
sentencing hearing which might be inconsistent with the provisions of this plea
agreement;

b. comment on the evidence supporting the charge in the Information or
Indictment;

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C. Oppose any arguments and requests for relief the defendant might
advance on an appeal from the sentences imposed and that the United States
remains free on appeal or collateral proceedings to defend the legality and propriety
of the sentence actually imposed, even if the Court chooses not to follow any
recommendation made by the United States; and

d. oppose any post-conviction motions for reduction of sentence, o other
relief.

14. Waiver of Constitutional Rights. The defendant, by pleading guilty,

acknowledges that he has been advised of, understands, and knowingly and voluntarily waives the
following rights:
a. the right to plead not guilty and to persist in a plea of not guilty;

b. the right to be presumed innocent until his guilt has been established beyond
a reasonable doubt at trial:

ce. the right to a jury trial, and at that trial, the right to the effective assistance
of counsel;

d,. the right to confront and cross-examine the witnesses who testify against
him;

e. the right to compel or subpoena witnesses to appear on his behalf; and

f. the right to remain silent at trial, in which case his silence may not be used
against him.

The defendant understands that by pleading guilty, he waives or gives up those rights and
that there will be no trial. The defendant further understands that if he pleads guilty, the Court
may ask his questions about the offense or offenses to which he pleaded guilty, and if the defendant
answers those questions under oath and in the presence of counsel, his answers may later be used
against his in a prosecution for perjury or making a false statement. The defendant also

understands he has pleaded guilty to a felony offense and, as a result, will fose his right to possess

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a firearm or ammunition and might be deprived of other rights, such as the right to vote or register
to vote, hold public office, or serve on a jury.

15, Waiver of Appellate and Post-Conviction Rights.

a. The defendant acknowledges, understands and agrees that by pleading
guilty pursuant to this plea agreement he waives his right to appeal or collaterally
attack a finding of guilt following the acceptance of this plea agreement, except on
grounds of (1) ineffective assistance of counsel; or (2) prosecutorial misconduct.

b. The defendant expressly waives his right to appeal his sentence, directly
or collaterally, on any ground except claims of (1) ineffective assistance of counsel;
(2) prosecutorial misconduct; or (3) an illegal sentence. An “illegal sentence”
includes a sentence imposed in excess of the statutory maximum, but does not
include less serious sentencing errors, such as a misapplication of the Sentencing
Guidelines, an abuse of discretion, or the imposition of an unreasonable sentence.
However, if the United States exercises its right to appeal the sentence imposed as
authorized by 18 U.S.C. § 3742(b), the defendant is released from this waiver and
may, as part of the Government’s appeal, cross-appeal his sentence as authorized
by 18 U.S.C. § 3742(a) with respect to any issues that have not been stipulated to
or agreed upon in this agreement.

16. Financial Obligations. By entering into this piea agreement, the defendant

represents that he understands and agrees to the following financial obligations:

a. The Court may order restitution to the victims of the offense to which the
defendant is pleading guilty. The defendant agrees that the Court may order
restitution in connection with the conduct charged in any counts of the Indictment
which are to be dismissed and all other uncharged related criminal activity.

b. The United States may use the Federal Debt Collection Procedures Act and
any other remedies provided by law to enforce any restitution order that may be
entered as part of the sentence in this case and to collect any fine.

c. The defendant willfully and truthfully discloses all assets and property in
which he has any interest, or over which the defendant exercises contre! directly or
indirectly, including assets and property held by a spouse, nominee or other third
party. The defendant’s disclosure obligations are ongoing, and are in force from

the execution of this agreement until the defendant has satisfied the restitution order
in full.

d. Within 10 days of the execution of this plea agreement, at the request of the
USAO, the defendant agrees to execute and submit: (1) a Tax Information
Authorization form; (2) an Authorization to Release Information; (3) a completed

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financial disclosure statement; and (4) copies of financial information that the
defendant submits to the U.S, Probation Office. The defendant understands that
compliance with these requests will be taken into account when the United States
makes a recommendation to the Court regarding the defendant’s acceptance of
responsibility.

e. At the request of the USAO, the defendant agrees to undergo any polygraph
examination the United States might choose to administer concerning the
identification and recovery of substitute assets and restitution.

f. The defendant hereby authorizes the USAO to obtain a credit report
pertaining to his to assist the USAO in evaluating the defendant's ability to satisfy
any financial obligations imposed as part of the sentence,

g. The defendant understands that a Special Assessment will be imposed as
part of the sentence in this case. The defendant promises to pay the Special
Assessment of $100 by submitting a satisfactory form of payment to the Clerk of
the Court prior fo appearing for the sentencing proceeding in this case. The
defendant agrees to provide the Clerk’s receipt as evidence of his fulfillment of this
obligation at the time of sentencing.

h. The defendant certifies that he has made no transfer of assets or property
for the purpose of (1) evading financial obligations created by this Agreement; (2)
evading obligations that may be imposed by the Court; nor (3) hindering efforts of
the USAO to enforce such financial obligations. Moreover, the defendant promises
that he will make no such transfers in the future.

i. In the event the United States learns of any misrepresentation in the
financial disclosure statement, or of any asset in which the defendant had an interest
at the time of this plea agreement that is not disclosed in the financial disclosure
statement, and in the event such misrepresentation or nondisclosure changes the
estimated net worth of the defendant by ten thousand dollars ($10,000) or more, the
United States may at its option: (1) choose to be relieved of its obligations under
this plea agreement; or (2) let the plea agreement stand, collect the full forfeiture,
restitution, and fines imposed by any criminal or civil judgment, and also collect
100% (one hundred percent) of the value of any previously undisclosed assets. The
defendant agrees not to contest any collection of such assets. In the event the United
States opts to be relieved of its obligations under this plea agreement, the
defendant’s previously entered pleas of guilty shall remain in effect and cannot be
withdrawn,

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17. Waiver of FOIA Request. The defendant waives all of his rights, whether asserted

directly or by a representative, to request or receive from any department or agency of the United
States any records pertaining to the investigation or prosecution of this case including, without
limitation, any records that may be sought under the Freedom of Information Act, 5 U.S.C, § 552,
or the Privacy Act of 1974, 5 U.S.C, § 552a,

18. Waiver of Claim for Atterney’s Fees. The defendant waives all of his claims

under the Hyde Amendment, 18 U.S.C, § 3006A, for attorney’s fees and other litigation expenses
arising out of the investigation or prosecution of this matter.

19. Defendant’s Breach of Plea Agreement. If the defendant commits any crimes,

violates any conditions of release, or violates any term of this plea agreement between the signing
of this plea agreement and the date of sentencing, or fails to appear for sentencing, or if the
defendant provides information to the Probation Office or the Court that is intentionally
misleading, incomplete, or untruthful, or otherwise breaches this plea agreement, the United States
will be released from its obligations under this agreement. The defendant, however, will remain
bound by the terms of the agreement, and will not be allowed to withdraw his plea of guilty.

The defendant also understands and agrees that in the event he violates this plea agreement,
all statements made by his to law enforcement agents subsequent to the execution of this plea
agreement, any testimony given by his before a grand jury or any tribunal or any leads from such
statements or testimony shall be admissible against his in any and all criminal proceedings. The
defendant waives any rights that he might assert under the United States Constitution, any statute,
Rule 118) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules of Evidence,
or any other federal rule that pertains to the admissibility of any statements made by his subsequent

to this plea agreement.

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21. Defendant Will Surrender to Custody At The Plea. The defendant understands

that a crime to which defendant is pleading guilty, conspiracy to distribute methamphetamine in
violation of 21 U.S.C. §§ 841{a)(1) and (b)(1)(C), is one of the offenses listed in 18 U.S.C. §§
3142(HC)(A), (CCB), or (ACCC), Accordingly, pursuant to 18 U.S.C, § 3143(a)(2), the Court
must detain the defendant after defendant pleads guilty. The defendant agrees not to contest being
detained immediately after the guilty plea, and to surrender to the custody of the U.S. Marshals at

that time.

22. No Undisclosed Terms. The United States and defendant acknowledge and agree that

the above-stated terms and conditions, together with any written supplemental agreement that
might be presented to the Court in camera, constitute the entire plea agreement between the parties,
and that any other terms and conditions not expressly set forth in this agreement or any written
supplemental agreement do not constitute any part of the parties’ agreement and will not be

enforceable against either party.

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23. Standard of Interpretation. The parties agree that the constitutional implications

inherent in plea agreements shall determine the interpretation and nature of its terms.

Teresa A, Moore
United States Attorney

Dated: / é f if / 2 al le

Sean T. Foley
Assistant United States Attorney
Violent Crime & Drug Trafficking Unit

I have consulted with my attorney and fully understand all of my rights with respect to the
offenses charged in the Indictment. Further, | have consulted with my attorney and fully
understand my rights with respect to the provisions of the Sentencing Guidelines. I have read this
plea agreement and carefully reviewed every part of it with my attorney. I understand this plea

agreement and I voluntarily agree to it.
Dated: _{ ) | LH | De Le fe
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Defendan
I am defendant Eric 8. Poston’s attorney. I have fully explained to him his rights with
respect to the offenses charged in the Indictment, Further, I have reviewed with him the provisions
of the Sentencing Guidelines which might apply in this case. [ have carefully reviewed every part
of this plea agreement with him. To my knowledge, Eric $. Poston’s decision to enter into this
plea agreement is an informed and voluntary one.

vated: | Ly { 22 LZ

we 7 Bob Kuchar
Attorney for Defendant Eric S. Poston

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